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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                      )             CASE NO. 4:12CR3114
                                               )
                      Plaintiff,               )
                                               )
       vs.                                     )                 RECUSAL ORDER
                                               )
WILLIAM WHITEHOUSE and                         )
JONATHON GRADY,                                )
                                               )
                      Defendants.              )

       This matter is before the Court on the Court’s own motion pursuant to 28 U.S.C. §

455(a), which states: “Any . . . judge . . . of the United States shall disqualify [her]self in any

proceeding in which [her] impartiality might reasonably be questioned.” Upon review of the

Court file in the above-designated case, the undersigned Judge shall, and hereby does,

recuse herself from the above-designated case pursuant to 28 U.S.C. § 455(a).

       IT IS SO ORDERED.

       DATED this 7th day of May, 2013.


                                              BY THE COURT:


                                              s/Laurie Smith Camp
                                              Chief United States District Judge
